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                       UNITED STATES BANKRUPTCY COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA


IN RE:                                         :
         Antonie S. Williams                   :       Case No.: 20-12225-elf
         Arelis A. Pizarro-Williams            :
                                               :
         Debtors                               :       Chapter 13

    ORDER GRANTING DEBTORS’ MOTION FOR AUTHORITY TO SELL REAL
                            PROPERTY
                              15th
        AND NOW, this ___________________                    Sept.
                                                    day of _________,   2021, upon consideration of
the Motion for Authority to Sell Real Property filed by Debtors, upon notice to all interested
parties, upon the filing, and any response thereto, and after a hearing before the Court and for
good cause shown, it is hereby

       ORDERED, that Debtors are granted permission to sell their real property located at 112
Central Avenue, Morrisville, Pennsylvania 19067 (“Property”), for the sale price of $250,000.00,
pursuant to the terms of a certain real estate agreement of sale dated as of August 9, 2021 plus
$695.75 for city/town taxes for the period of September 15, 2021 to December 21, 2021 and
$4,438.32 for assessments for the period of September 15, 2021 to June 30, 2022 paid by the
Debtors for a total of $255,134.07, to the buyer thereunder, Ekaterine Iobidze (“Buyer”), who
has been represented to be purchasing the Property at arms-length.

       The proceeds of the sale, including any funds held as a deposit made by or on behalf of
the Buyer, shall be distributed in the approximate following manner:

         1.     Ordinary and reasonable settlement costs, including,
                but not limited to those related to notary services, deed
                preparation, disbursements, express shipping, surveys,
                municipal certifications, or any other such routine matters         $ 3,151.75
         2.     Liens paid at closing                                               $ 198,398.41
         3.     Real estate taxes, sewer, trash and/or other such items             $ 500.00
         4.     Property repairs, if any                                            $      n/a
         5.     Real estate commission, at no greater than 6%                       $ 12,500.00
         6.     Attorney’s fees, if any                                             $      n/a
         7.     Any small (less than $300) allowances agreed to be made
                to Buyer to settle any unforeseen dispute arising at
                                                   1
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                settlement                                                              $       n/a
        8.      Other                                                                   $       n/a
                ESTIMATED AMT DUE TO SELLERS                                            $ 40,583.91

       This Order is contingent upon all liens and mortgages, including those held by
Pennsylvania Department of Revenue, Quicken Loans, and EnerBank USA being paid in full at
closing subject to a proper and accurate payoff at the time of sale. The lien will otherwise
remain on the property unless paid in full.

        After paying all liens in full and all costs of sale, the title clerk shall pay to William C.
Miller, Chapter 13 standing trustee, any amount remaining after Debtors have received their
exemption of $50,300.00.

         The title clerk shall fax a completed HUD-1 or settlement sheet from the closing directly
to the trustee immediately upon the close of the settlement.

       Debtor may convert this case to one under Chapter 7. In the event the case is converted
to Chapter 7, any funds remaining in the possession of the standing trustee shall be transferred to
the appointed Chapter 7 trustee.

      Per Bankruptcy Rule 6004(h), the 14 day stay as to effect of this Order is hereby waived.




                                                ____________________________________
                                                ERIC L. FRANK
                                                U.S. BANKRUPTCY JUDGE




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